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     LIMITED and Q CYBER TECHNOLOGIES LIMITED
 7
                                UNITED STATES DISTRICT COURT
 8
                               NORTHERN DISTRICT OF CALIFORNIA
 9
                                      OAKLAND DIVISION
10

11   WHATSAPP INC., a Delaware corporation,      Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                                DECLARATION OF AARON S. CRAIG
                                                 IN SUPPORT OF (1) DEFENDANTS NSO
13               Plaintiffs,                     GROUP TECHNOLOGIES LIMITED
                                                 AND Q CYBER TECHNOLOGIES
14         v.                                    LIMITED’S ADMINISTRATIVE
                                                 MOTION TO FILE UNDER SEAL; AND
15   NSO GROUP TECHNOLOGIES LIMITED              (2) ADMINISTRATIVE MOTION TO
     and Q CYBER TECHNOLOGIES LIMITED,           CONSIDER WHETHER ANOTHER
16                                               PARTY’S MATERIAL SHOULD BE
                 Defendants.                     SEALED
17
                                                 FILED UNDER SEAL
18
                                                 [REDACTED VERSION OF DOCUMENT
19                                               SOUGHT TO BE SEALED]
20                                               Pretrial Conference Date: April 10, 2025
                                                 Time: 2:00 p.m.
21                                               Ctrm: 3
                                                 Judge: Hon. Phyllis J. Hamilton
22                                               Trial Date: April 28, 2025
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       CRAIG DECL.                                                     Case No. 4:19-cv-07123-PJH
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 1            I, Aaron S. Craig, declare as follows:

 2            1.     I am a member of the California State Bar and the bar of this court, a partner in the

 3   law firm of King & Spalding LLP, and counsel of record to Defendants NSO Group Technologies

 4   Limited and Q Cyber Technologies Limited (collectively, the “Defendants”). This Declaration is

 5   made in support of Defendants’ two Administrative Motion to Seal filed concurrently herewith. I

 6   have personal knowledge of the facts set forth herein and, except as otherwise stated, could testify

 7   competently to each fact averred herein.

 8            2.     The Complaint was filed October 29, 2019. (Dkt. No. 1.) Defendants were served

 9   on March 12, 2020, and on April 2, 2020, Defendants moved to dismiss the complaint. (Dkt. No.

10   45.) Plaintiffs served a First Set of RFPs on June 4, 2020. This Court stayed discovery shortly

11   after Plaintiffs served their First Set of RFPs. After the stay ended, the Court held a status

12   conference at which it instructed the parties to meet and confer over the                         on

13   Plaintiffs’ RFPs.    The parties met and conferred but could not reach a resolution, forcing

14   Defendants to file a motion for protective order on March 30, 2023. On November 15, 2023, the

15   Court denied NSO’s motion for protective order. (Dkt. No. 233.) The parties then engaged in

16   substantive discovery, which involved the exchange of numerous highly confidential documents.

17   In September and October of 2024, the parties filed their respective dispositive motions (Dkt. Nos.

18   396, 399, 413, 418, 419, 433, 436, 446) and Plaintiffs filed a motion for sanctions (Dkt. Nos. 405,

19   417, 429, 443, 454).

20            3.     Defendants seek to file under seal documents (the “Sealed Documents”1) submitted

21   in connection with Defendants’ Trial Brief and Motions in Limine. Sealing of certain of the Sealed

22   Documents is necessary to

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26                                                                     As is evidenced by the

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28   1
         The Sealed Documents are enumerated in paragraph 11, below.
         CRAIG DECL.                                     1                      Case No. 4:19-cv-07123-PJH
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 6                                                                             (Gelfand Decl. (Dkt. 133-6)

 7 Exh. B at 1-2.)

 8         5.        On July 19, 2020,

 9                                                                        (Gelfand Decl. (Dkt. 133-6), Exh.

10   D.)                        determined the                       was

11                                       to          (Id. at 1.)                                    prohibits

12                                                                                             that is not an

13                                            with regard to any                                        that are

14

15                                                                               (Id.)            authorized

16 the                  to

17

18

19                                                                                  (Id. at 1-2.) The order

20 also authorized                                                   of

21                                            and

22                                                                                        (Id. at 3.)

23         6.        On July 19, 2020,                                           delivered a

24                                            in       (Gelfand Decl. (Dkt. 133-6) Exh. F.)

25 notified Defendants about the                      and explained that

26

27                                                          (Id. ¶ 3.)

28                       that they are
       CRAIG DECL.                                     3                           Case No. 4:19-cv-07123-PJH
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 1                                                                        by

 2                                including a prohibition on

 3

 4                   (Id. ¶ 2.)

 5          7.        On February 8, 2023,

 6

 7                                                                             (Gelfand Decl. (Dkt. 133-6)

 8 Exh. D.) The purpose for this update, according to

 9

10

11          8.        On May 21, 2023,

12

13

14                           As soon as NSO r

15               it filed and served them on June 13, 2023 (Dkt. 195-3 and 195-4.)

16 is described in paragraph 10 below.

17                                   (Dkt. 195-4, Order ¶ 3),

18

19                                                                                      (Dkt. 195-4, Order

20   ¶ 4), and                     may not be           to any                 except in

21 pursuant to a                     that will

22                          (Dkt. 195-4, Order ¶ 5), provided that they are

23                                      (Dkt. 195-4,              ¶ 3).

24                                                                (Dkt. 195-4,                   ¶ 6).

25

26          9.        The information that Defendants seek to keep under seal regarding the

27                                                                  At the time Defendants first received

28
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 1                                                                          (Gelfand Decl. (Dkt. 133-6)

 2 Exh. F ¶¶ 4-6.) Through their counsel in                Defendants

 3                                                                      Defendants

 4                                                                                                to allow

 5   disclosure of                     to this Court and to Plaintiffs’ counsel. In seeking the

 6   Defendants

 7

 8                                    authorizing Defendants to

 9

10

11          10.      The                   (Dkt. 195-3)

12

13                (Dkt. 195-3, ¶ 2.) The

14

15

16                                                                              (Dkt. 195-3, ¶ 2(1)-(6).)

17   However, the

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21   (Dkt. 195-3 ¶ 4 (a)-(b)). As relevant here,

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25          11.      In support of Defendants’ Trial Brief and Defendants’ Motions in Limine,

26   Defendants seek to file under seal the indicated portions of (1) this Declaration; (2) Defendants’

27   Trial Brief; (3) Defendants’ Motions in Limine; (4) Paragraph 16 and Exhibits J and M to the

28
       CRAIG DECL.                                     5                        Case No. 4:19-cv-07123-PJH
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 1   Declaration of Joseph N. Akrotirianakis in Support of the Trial Brief and Motions in Limine

 2   (collectively, the “Sealed Documents”).

 3            12.   Compelling reasons exist to seal the Sealed Materials, which reference

 4

 5                              which is entitled to deference.

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13            a.    First, the Sealed Documents, including Defendants’ motion in limine no.7, relate

14   to

15                                  As such, the Sealed Documents contain traditionally nonpublic

16 government information for which there is no constitutional right of access. See, e.g., N.Y. Times

17 Co. v. U.S. Dep't of Justice, 806 F.3d 682, 688 (2d Cir. 2015) (“As a general rule, there is no

18 constitutional right of access to traditionally nonpublic government information.”) The fact that

19 the documents were issued by

20                                                                                 “alone counsels in

21 favor of finding that there is no presumptive public right of access” to these documents. Omari v.

22 Ras Al Khaimah Free Trade Zone Auth., 2017 WL 3896399, at *14 (S.D.N.Y. Aug. 18, 2017)

23 (sealing a white paper commissioned by a ruler of a political subdivision of foreign nation because

24 it contained “highly sensitive, traditionally nonpublic government information, in this case of a

25 foreign government”); see also In re Terrorist Attacks on Sept. 11, 2001, 2019 WL 3296959, at *5

26 (S.D.N.Y. July 22, 2019) (sealing multiple documents and finding that the documents contained

27 “traditionally nonpublic information” because the documents involved senior foreign officials,

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          CRAIG DECL.                                6                       Case No. 4:19-cv-07123-PJH
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 1   were designated as sensitive at the time of creation, and detailed information about the nation’s

 2   response to certain investigations).

 3          b.      Second,

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 9                                                 Societe Nationale Industrielle Aerospatiale v. U.S.

10   Dist. Ct., 482 U.S. 522, 543 n. 27 (1987).

11                                                                  United States v. Sater, 2019 WL

12   3288289, at *4 (E.D.N.Y. July 22, 2019). This is particularly true where, as in this case, the

13   documents sought to be sealed

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20                                   Because

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22          c.      Third, because

23                public disclosure of the Sealed Documents could

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 1          13.     Accordingly, compelling reasons exist to seal the Sealed Documents, and

 2   Defendants respectfully request that the Court grant the accompanying Motion to File Under Seal

 3   and order the Sealed Documents be kept under seal.

 4          14.     Attached hereto as Exhibit 1 is a true and correct copy of the unredacted version

 5   of Defendants’ Trial Brief.

 6          15.     Attached hereto as Exhibit 2 is a true and correct copy of the unredacted version

 7   of Defendants’ Motions in Limine.

 8          16.     Attached hereto as Exhibit 3 is true and correct copy of the unredacted declaration

 9   of Joseph Akrotirianakis in Support of Defendants’ Trial Brief and Defendants’ Motions in

10   Limine, and the exhibits thereto, including paragraph 16 and Exhibits J and M for which sealing

11   is sought by Defendants’ Administrative Motion to File Under Seal, and Exhibits C-G, K and L

12   for which sealing is sought by Defendants’ Administrative Motion to Consider Whether Another

13   Party’s Material Should Be Sealed.

14          17.     The Declarant has carefully sought sealing of only those parts of this Declaration

15   and the exhibits thereto as are necessary to comply with other legal obligations binding on

16   Defendants, as described above, and, on behalf of Defendants, respectfully submits that the

17   compelling reasons standards are met with respect to the Sealed Documents.

18          I declare under penalty of perjury and the laws of the United States that the foregoing is

19   true and correct this 13th day of March 2025, at Los Angeles, California.

20

21                                   /s/ Aaron S. Craig
                                            AARON S. CRAIG
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       CRAIG DECL.                                   8                        Case No. 4:19-cv-07123-PJH
